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 1                      DECLARATION OF SA LYNNE ZELLHART
 2         I, SA Lynne Zellhart, declare as follows:
 3         1.     I am a Special Agent with the FBI and have been so employed since 2004.
 4 I have participated in the investigation of U.S Private Vaults (“USPV”) and am familiar
 5 with all aspects of the investigation.
 6         2.     I understand that the anonymous boxholder(s) for boxes 4105 and 5006 has
 7 asserted that currency was situated in box 4105 and “gold” was inside Box 5006. The
 8 FBI did not find or seize any currency or any other asset from Box 4105. As to box
 9 5006, the FBI found two items (i.e., two yellow metal coins and one metal wrist band)
10 which might be the “gold” the boxholder is describing. Regardless, the FBI is returning
11 the two yellow metal coins and one metal wrist band. The FBI found currency in box
12 5006, but all of that currency is the subject of the forfeiture proceedings.
13         3.     I understand that the anonymous boxholder for box 6710 has asserted that
14 “gold and jewelry” were in box 6710. The FBI found one white fabric cover containing
15 a yellow metal chain with clear stones and a medallion in that box, which might be the
16 “gold and jewelry” the boxholder is describing, and the FBI is returning this item.
17         4.     I understand that the anonymous boxholder for box 40 may be asserting
18 that “gold and jewelry” was inside box 40. The FBI did not find or seize any gold or
19 jewelry from that box. The FBI found currency in box 40, but all of that currency is the
20 subject of the forfeiture proceedings.
21         5.     I have reviewed Exhibit D to the declaration of Eric Honig, which I
22 understand he describes as his compilation currency seizures from the FBI’s “Official
23 Notification” of seizures, from a larger list of USPV seizures published on the
24 government’s forfeiture.gov website on June 7, 14 and 21, 2021 and July 6, 2021, in
25 which there was no name listed next to the currency seizure and box number. I
26 understand that plaintiffs are contending that there are 122 such items/boxes on Exhibit
27 D, and that the failure of the internet publication to list a name next to these items
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